     Case 3:04-cv-00703-RAM       Document 370      Filed 07/20/11      Page 1 of 2



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 6                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
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 8   SHAWN VAN ASDALE, an individual, )               3:04-cv-0703-RAM
     and LENA VAN ASDALE, an individual, )
 9                                       )            ORDER
                Plaintiffs,              )
10                                       )
           vs.                           )
11                                       )
     INTERNATIONAL GAME                  )
12   TECHNOLOGY, a Nevada corporation, )
                                         )
13              Defendant.               )
     ____________________________)
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            Plaintiffs have filed an Objection to Application for Approval of Bond (Doc. #365).
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     Defendant has Replied in Support of Application for Approval of Bond (Doc. #366).
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            On June 21, 2011, Defendant filed an Application for Approval of Bond (Doc. #361)
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     requesting that bond no. 0147946 in the amount of $4,643,240.44 (Doc. #360) be approved.
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     On June 22, 2011, the Clerk’s office filed the bond (Doc. #364).
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            In their Objection to Application for Approval of Bond (Doc. #365) Plaintiffs rely on
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     an unpublished district court case from the District of Colorado in which the court increased
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     the amount of a supercedes bond in excess of the amount of the judgment. U.S. for Use &
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     Benefit v. Torix Gen. Contractors (No. 07-cv-01355 (Colo. 6-6-2011).
23
            That case seems to be in conflict with the controlling law in the Tenth Circuit which
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     generally holds that “. . . The purpose of requiring a supercedes bond pending appeal ‘is to
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     secure the judgment throughout the appeal process against the possibility of the judgment
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     debtor’s insolvency.’ (citations omitted) Typically, the amount of the bond matches the full
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     Case 3:04-cv-00703-RAM       Document 370         Filed 07/20/11   Page 2 of 2



 1   amount of the judgment (citations omitted).” Olcott v. Delaware Flood Co., 76 F.3d 1538,
 2   1559 (10th Cir. 1996). See also, Strong v. Laubach, 443 F.3d 1297, 1299 (10th Cir. 2006).
 3          Both the Olcott and Strong cases also recognize that although the district court has
 4   discretion in setting a lesser amount it abuses its discretion in setting a greater amount.
 5          The court agrees with the controlling Tenth Circuit authority and Plaintiffs’ Objection
 6   to Application for Approval of Bond (Doc. #365) is DENIED. Defendant’s bond in the sum
 7   of $4,643,240.44 (Doc. #360) is APPROVED.
 8          DATED: July 20, 2011.
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10                                      ______________________________________
                                        UNITED STATES MAGISTRATE JUDGE
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